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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA

ROME DIVISION

City of Rome, Georgia; Hart County, Georgia; City of
Cartersville, Georgia; City of Hartwell, Georgia; Cobb
County, Georgia; City of Cedartown, Georgia; City of
Dalton, Georgia; Gwinnett County, Georgia; Fulton
County, Georgia; City of Rockmart, Georgia; City of Fast
Point, Georgia; City of Warner Robins, Georgia; City of
Tybee Island, Georgia; Dekalb County, Georgia; City of
College Park, Georgia; City of Alpharetta, Georgia;
City of Macon, Georgia; Augusta-Richmond County,
Georgia; Clayton County, Georgia;

And All Others Similarly Situated,

Plaintiffs,
v.

Hotels.com, L.P.; Hotels.com GP, LLC; Hotwire, Inc.;
Cheap Tickets, Inc.; Cendant Travel Distribution Services
Group Inc.; Expedia, Inc.; Internetwork Publishing Corp.
(d/b/a lodging.com); Lowest Fare.com, Inc.; Orbitz, Inc.;
Orbitz, LLC; Priceline.com, Inc,; Site59.com, LLC;
Travelocity.com, Inc.; Travelocity.com, LP;

Travelweb, LLC; Travelnow.com, Inc.;

Onetravel, Inc. (d/b/a onetravel.com);

And Does 1 through 1000, Inclusive,

Defendants.

Nowe” Neer” Nee Nima” ame” Nee ieee Nee” Seege” “neue” “ngs” Snape” “nur” nena” Mme” nome” “Ngee” “See” Se” Nemeth” “ome”

C.A. File No.
4:05-CV-249
(HLM)

PLAINTIFFS’ REPLY TO DEFENDANTS’ OPPOSITION TO

PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION

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I. INTRODUCTION AND SUMMARY OF ARGUMENT.

In the face of this Court’s prior orders, the rulings of the Supreme Court of
Georgia and four other District Courts’ decisions granting class certification in
hotel excise tax cases, Defendants have ignored past precedents and argued facts
on the merits that are irrelevant to class certification. While Plaintiffs too are eager
to reach the merits of their claims, the issue for this Court at this time is class
certification. The legal precedents and relevant facts fully support certification of
the Class proposed by Plaintiffs.

Defendants’ Response Brief’ is remarkable for its thinly-veiled attacks upon
this Court’s prior orders in this case” and the complete absence of discussion, or
even acknowledgement, of the earlier orders of other District Courts soundly
rejecting Defendants’ positions asserted in their Brief. Defendants’ Brief mostly
regurgitates similar arguments made to District Courts in the San Antonio,

Goodlettsville, and Monroe County cases.’ Yet, even as long as their Brief is,’

' Defendants’ Memorandum in Opposition to Plaintiffs’ Motion for Class
Certification (hereafter “Defendants’ Brief”) |[Doc, 393].

* See especially, Order, May 10, 2007 (“2007 Order”), 2007 WL 6887932 [Doc.
214]; Order, July 10, 2009 (2009 Order”) [Doc. 272].

3 City of San Antonio v. Hotels.com, 2008 WL 2486043 (W.D.Tex. May 27, 2008);
City of Goodlettsville v. Priceline.com, Inc., 267 F.R.D. 523 (M.D.Tenn. 2010);
County of Monroe v. Priceline.com, Inc., 265 F.R.D, 659 (S.D.Fla. 2010).

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Defendants do not respond at all to Plaintiffs’ citation of the aforementioned cases
or address the other District Court opinion granting class certification’, nor do they
offer any explanation as to why those courts’ analyses and decisions do not counsel
in favor of certifying the class here.

Instead, Defendants misrepresent the tasks required of this Court to grant
certification and assert the alleged preclusive effect of the doctrine of exhaustion of
administrative remedies upon certification, which contentions this Court,® the
Georgia Supreme Court,’ and the District Courts in Goodlettsville and Monroe
County have rejected. In reality, the factual analysis necessary for class
certification is simple and the relevant facts undisputed:

e At least 259 cities and counties in Georgia have enacted hotel excise tax

ordinances pursuant to O.C.G.A. §48-13-50, et seq. (the “Enabling Statute”);*

* See Defendants’ Brief and Defendants’ Attach. B, H, I [Doc. 393]; (See also
Plaintiffs’ Objections to Defendants’ Attachments B, H and and I (attached hereto
as Exhibit “1”).

> City of Gallup, N. M. v. Hotels.com, L.P., No. 07-cv-00644 JEC/RLP (D.N.M.
Jul. 7, 2009) (Plaintiffs’ Memorandum Exhibit C [Doc. 366-4]).

® See, e.g., 2009 Order [Doc. 272].

” City of Atlanta v. Hotels.com, L.P., 285 Ga. 231 (2009).

* See, e.g., Declaration of Robert M. Brinson in Support of Plaintiffs’ Motion for
Class Certification (“Brinson Decl.”), at 95 [Doc. 366-12]; Brinson Decl., Ex. A
(disk containing Georgia ordinances) [Doc. 367].

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e —Inall instances, the hotel excise tax is upon the consumer” and is to be
collected by the entity transacting with the consumer;"

e Defendants have admitted that they have interjected themselves into this
taxation scheme by becoming the merchant of record with the consumer,
collecting hotel excise taxes from the consumer and remitting part of such
taxes to the hotels for payment to the governing authority;'! and

e Although terms used in the local ordinances may vary in certain immaterial
instances,’ it is clear in each ordinance that the tax is to be levied on the full
consideration paid by the consumer to occupy the room, not the net rate paid
by the Defendants to the hotels. The Georgia Supreme Court and some

District Courts have so ruled.’

” See, O.C.G.A. §48-13-51{a)(1)(B)(ii): “Any tax ... is also imposed upon every
person or entity who is a motel or hotel guest and who receives a room....”

° See, Id., “The person or entity collecting the tax from the hotel or motel guest
shall remit the tax to the governing authority imposing the tax....”

'! See discussion, infia, at n.30.

2 See Brinson Decl., Ex. C (listing operative terms of ordinances [Doc. 366-14];
Supplemental Declaration of Robert M. Brinson in Support of Plaintiffs’ Motion
for Class Certification (“Brinson Supp. Decl.”) (attached hereto as Exhibit “2”),

'3 See, Expedia, Inc. v. City of Columbus, 285 Ga. 684, 689-90 (2009) (“the
applicable tax rate is applied to the price Expedia demands from the consumer for
the right to occupy the hotel room and not the price Expedia agrees to pay the hotel
for the room”). See also, City of Goodlettsville, Tenn. v. Priceline.com, Inc., 605
F.Supp.2d 982, 998 (M.D.Tenn. 2009) (“the entire amount charged by the
defendants [is] subject to the tax”). Accord, City of Gallup, supra, at 5.

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e Everywhere Defendants book rooms under their “merchant model”, not just in
Georgia but anywhere in the United States, they disclose to customers a retail
room rate, but only remit taxes to the state and local governments on the
wholesale or net rate. That is their undisputed national business practice.

This Court does not need to review hundreds of contracts between

Defendants and their hotel “partners” to determine whether certification is proper.

See, City of Gallup, at 8. The above-listed core relevant facts and material terms

are not in dispute. Defendants all operate under their “merchant model” business

practice, where Defendants are the exclusive entities dealing with the consumer in
making the reservation, collecting the consideration for the room rental and taxes
from the consumers, and then remitting taxes to the hotels for payment to the
governing authorities. Plaintiffs have provided the Court samples of Defendants’
contracts with hotels to verify this point, and Defendants’ own brief and

Attachments’ underscore the uniformity of the business practice. Under these

facts, the Georgia Supreme Court has held that Defendants are required to collect

4 See, Defendants’ Brief, at 9-10: “Most OTCs transact business using what is
referred to as the ‘Merchant Model’... Under the Merchant Model, the total
amount the OTC charges the traveler’s credit card has two components.... The
second component ~ sometimes referred to as ‘taxes and fees’ or the ‘tax recovery
charges and service fees’ — covers the estimated taxes that the hotel will owe on the
Rent.... After the traveler occupies the room, the hotel charges the OTC for the
Rent, the applicable taxes due on the Rent....” See also, Attach. B, H and I.

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and remit hotel excise taxes upon the entire consideration paid for occupancy of
the room to the local governing authorities. City of Columbus, Accord, 2009 Order
at 19-20.

Finally, Defendants’ resurrected “failure-to-exhaust-administrative
remedies” arguments fly in the face of the rulings of this Court,'° the Georgia
Supreme Court,’® and the cited District Courts on the issue.'’ Pretermitting whether
the administrative procedures even apply to this situation,'® this Court thought their
exercise might aid the Court and stayed the proceedings to allow Plaintiffs to
pursue the administrative process. 2007 Order. Numerous Plaintiffs attempted to
audit and assess Defendants for taxes allegedly owed, but Defendants refused to
pay the assessments and uniformly denied that they were subject to the taxes or the
jurisdiction of the governmental authorities assessing the taxes. Any further efforts

by Plaintiffs or members of the putative Class to pursue administrative remedies

'° 2009 Order.

'S City of Columbus, at 687-88.

'? County of Monroe, at 664-67; City of Gallup, at 4-6; City of Goodlettsville, 605
F.Supp.2d at 991 (“The plaintiff is excused from the exhaustion requirement on the
grounds that exhaustion would be futile or useless”).

"8 See, County of Monroe, at 664 (“Under these circumstances, the concerns about
administrative autonomy which underpin the exhaustion of remedies doctrine are
greatly attenuated or not present at all”); Hotels.com, L.P. v. City of Columbus, 286
Ga. 130 (2009) (exhaustion of administrative remedies not necessary or
appropriate for declaratory relief); 2007 Order (administrative process does not
apply to Plaintiffs’ non-statutory-claims)..

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“would be a charade and would simply delay the inevitable judicial resolution of
the legal issues presented, while providing little or no benefit for the court, the
agency, or the parties.” County of Monroe, at 685,
II, PLAINTIFFS HAVE PROPERLY DEFINED THE CLASS.
Plaintiffs have proposed the following class definition:

Plaintiffs and all counties and municipalities in the state of Georgia

who levy an excise tax on rooms, lodgings and accommodations

pursuant to O.C.G.A, §48-13-50, ef. seq.
Plaintiffs’ Motion at 2 [Doc. 366]. Defendants object, asserting that the proposed
class “is likely to include members that suffered no injury” and thus is
impermissibly overbroad. Defendants’ Brief, at 17.'° Amazingly, the Defendants
took the exact opposite position before the District Court in County of Monroe and
prevailed, causing that court to modify the proposed class definition to comport
exactly with the definition Defendants now oppose in this case. Having

prevailed on an opposite position before another court in this Circuit, Defendants

are judicially estopped to challenge Plaintiffs’ proposed definition here,”

'9 See also, id., at 18-20 (“courts have refused to certify classes that were defined
to include persons or entities that suffered no harm” and the class definition must
insure “that those actually harmed by defendants’ wrongful conduct will be
recipients of the relief eventually provided”).
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Judicial estoppel, an equitable doctrine that serves to protect the integrity of the
judicial process, prevents a party from asserting a position inconsistent with one it

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In County of Monroe, the plaintiffs proposed a two-pronged class definition:
(1) all counties within the State of Florida which had enacted a hotel excise tax
pursuant to the Florida enabling statute and (2) “have not received the tax due on
the amount received by Defendants as consideration for the rooms rented by them
located within those counties.” /d., at 663. In other words, plaintiffs’ proposed
class in County of Monroe had a requirement, as Defendants propose here, that the
class members had to have suffered damages by Defendants’ conduct. Defendants
objected to the second prong of the proposed definition because “the second prong
of the class definition employs terms that are dependent upon resolving the
County’s claim on the merits....” Jd. at 666. The court held: “This is a legitimate
objection: whether tax is ‘due’ on the Defendants’ transactions will not be known
until the case has been resolved on the merits.” /d.

To cure the problem complained of by defendants, the District Court in
County of Monroe simply deleted the second prong of the proposed class definition
so that the class definition read exactly as Plaintiffs propose herein: “all cities and
counties within the State of Florida that have enacted a tourist development tax
under the authority of §125.0104, Florida Statutes.” Jd. Compare, “all counties and

municipalities in the State of Georgia that levy an excise tax on rooms, lodgings

successfully asserted in a prior proceeding. See, e.g, New Hampshire v. Maine,
532 U.S. 742, 749-50, (2001).

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and accommodations pursuant to O.C.G.A. §48-13-50, et. seg.” Plaintiffs’ Motion,
at 2, Defendants’ position in County of Monroe shows that Plaintiffs’ proposed
definition in this case is proper and Defendants’ objection is without merit.

To revise the class to counter Defendants’ argument here would result in the
very_problems Defendants opposed in County of Monroe. The class could not be
defined until the case was decided on the merits (to determine whether the
Defendants owed taxes to the local governments) and the identity of jurisdictions
in which Defendants actually sold rooms could change between certification and
judgment. But, by adopting Plaintiffs’ proposed class definition, the class is readily
identifiable”! and notices can be sent to putative members. Should there be
isolated jurisdictions that have enacted excise tax ordinances but Defendants have
not sold rooms in those jurisdictions, their identities will be readily apparent during
the claims process. Even then, such jurisdictions would have an interest in the
declaratory and injunctive relief sought in order to ensure future compliance with
their tax ordinances should Defendants subsequently sell rooms within their
jurisdictions.

Moreover, as is prevalent in their Response, Defendants misstate authority in

their desperate attempt to persuade this Court to deny class certification. For

*! See, e.g., Brinson Decl. [Doc. 366-12].

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example, Defendants cite Jn re Polypropylene Carpet Antitrust Litig., 178 F.R.D.
603 (N.D.Ga. 1997) with regard to “a minimum standard of definiteness” required
for class definition (Defendants’ Brief, at 17), but fail to apprise the Court of the
preceding sentence to that proposition, which includes that, at the class
certification stage, “‘[i]t is not necessary that the members of the class be so clearly
identified that any member can be presently ascertained.’” Jd. at 612 (emphasis
added),”* See also, Buford v. H & R Block, Inc., 168 F.R.D, 340, 347
(S.D.Ga.1996) (cited in Defendants’ Brief, at 18) (‘While the definition of the
class must not be vague or difficult to apply, the implicit definition requirement
does not require an overly strict degree of certainty and is to be liberally applied”).
Plaintiffs’ definition properly defines the potential class members for class
certification purposes. The determination of which cities or counties may avail

themselves of the remedies sought by Plaintiffs is premature.

*? Defendants’ examples of courts allegedly denying certification because classes
were defined to include those not harmed by the complained-of conduct are
inapplicable as they involve class definitions where certain proposed members
could never have made the substantive claim(s) asserted. Such is not the case here.
Defendants’ practice of not remitting taxes on the total amount charged to the
consumer is ongoing (except in Atlanta and Columbus, where Defendants have
been ordered to remit as legally required). If a Georgia city or county has a hotel
excise tax ordinance and any Defendant books a room at that locale in the future,
that city or county will have a claim. The latter aspect of class membership will be
easily “ascertained” by reference to Defendants’ own transactional data.

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WI. EXHAUSTION OF ADMINISTRATIVE REMEDIES.

Defendants assert that (1) Plaintiffs lack standing to sue Defendants and thus
are not adequate class representatives” and (2) Plaintiffs have failed to establish
sufficient numerosity~’ on the sole ground that neither the Plaintiffs or putative
class members have exhausted their administrative remedies against Defendants.

Tellingly, Defendants wholly fail to acknowledge or address this Court’s
2009 Order; the Georgia Supreme Court’s opinions in City of Atlanta, and City of
Columbus; and the decision of other District Courts in County of Monroe, 265
F.R.D. at 664-666; City of Goodlettsville, 605 F.Supp.2d at 987-992; or City of
Charleston v. Hotels.com, L.P., 520 F.Supp.2d 737, 770 (D.S.C. 2007), all of
which rejected Defendants’ argument.

Amazingly, Defendants cite and quote this Court’s 2007 Order as authority
for their argument that Plaintiffs lack standing to sue Defendants and therefore

cannot be class representatives,”° but ignore this Court’s 2009 Order, which

discussed the City of Atlanta and City of Columbus decisions and held:

The Court therefore concludes that because Plaintiffs have assessed
Defendants and Defendants have contested the assessment, the
administrative process contemplated under the statute is complete, and
the case can move forward.

*3 Defendants’ Brief, at 22-25.
4 Td, at 20-22.
* See, Defendants’ Brief, at 24.

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2009 Order, at 18-19. After this Court issued its Order, the Defendants did not
move for reconsideration. But now, more than a year and a half later, Defendants
act as if the 2009 Order never existed or, if it did, it was wrong.

The 2009 Order is undeniably correct as it follows the law as established by
the Georgia Supreme Court in City of Columbus where, as here, after assessment,
Defendants refused to make payment and denied they were subject to the
ordinances or the enabling statute:

Expedia rejected the assessment and advised that it was not subject to

the City’s ordinance or the enabling statute. Since neither the City’s

ordinance or the Enabling Statute provide any other process or

procedure to review the written assessment, the City has completed its

administrative process.
City of Columbus, at 687-688."

Any further resort to administrative remedies by the named Plaintiffs or the

putative Class members would be futile, Although this Court originally declined to

*6 Defendants’ challenge to Plaintiffs’ assessments on the grounds that they were
made on behalf of the government by Plaintiffs’ counsel is not only tardy, but
without merit. This Court has previously held that Plaintiffs’ counsel are not
disqualified by virtue of their contingent fee arrangement. 2007 Order, 2007 WL
6887932 at *24, In that Order, this Court also acknowledged the limited auditing
capabilities of the Plaintiffs-and authorized them to hire outside personnel for the
audits if necessary. /d. at *18. Defendants acknowledge this. See, Defendants’
Brief, at 12. See also, Priceline.com, Inc. v. City of Anaheim, 100 Cal.App. 4"
1130, 1143, n.8 (Cal.Ct.App. 2010) (distinguishing Sears Roebuck v. Parsons 401
S.E.2d 4 (Ga. 1991), cited in Defendants’ Brief, at 2, 24).

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excuse Plaintiffs from pursuing their administrative remedies on the basis of
futility, the Court noted that Defendants had denied that they were subject to the
excise tax “throughout the litigation” and the proof in the pudding regarding
Plaintiffs’ futility argument would be determined by Defendants’ response to
Plaintiffs’ assessment process. 2007 Order, 2007 WL 6887932 at *23.

In its 2009 Order [Doc. 272], this Court found:

Defendant contested essentially every aspect of Plaintiffs’

assessments,’ and made it clear that they had no intention of paying

the amounts assessed against them without at least receiving further
information from Plaintiffs.

"Defendant argued that the assessments were invalid on their

face, that the assessments failed to offer an explanation of the
factual basis for the assessments, and argued once again that

they could not legally be subjected to the tax.

Defendants’ denials have been uniform across the country.” Under such
circumstances, other courts have uniformly held that the putative class members’
failure to exhaust administrative remedies is not a bar to their being class members.
Id. In fact, courts have held that Defendants’ exhaustion of administrative remedies
theory is inapplicable to any Rule 23 class certification issues:

In light of the foregoing, the exhaustion of administrative remedies

doctrine is inapplicable here and irrelevant to any of the Rule 23
requirements that Defendants contest. Neither the County nor the

*7 See, e.g., City of Goodlettsville, 605 F.Supp.2d at 991; County of Monroe, 265
F.R.D. at 664-65,

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other members of the putative class were required to resort to the
administrative process before filing suit. Accordingly, exhaustion of
remedies or the lack thereof has no bearing on whether the County
has standing to pursue this lawsuit, or whether the members of the
putative class are sufficiently numerous. Defendants further argue
that this issue precludes the County from demonstrating typicality,
because it subjects the County to a “unique defense.” .... As noted
above, exhaustion of administrative remedies is not a merits-based
defense, Even if it were, however, it would hardly be “unique” vis-a-
vis the County, as Defendants argue that all but three of the fifty-nine
putative class members have failed to exhaust administrative
proceedings. For the same reasons, exhaustion does not create
“substantial conflicts” between the County and other putative class
members such that the County would not be an adequate class
representative. Lastly because neither the Court nor the jury will be
called upon to make individualized determinations-or any other kind
of determinations-as to exhaustion, it is irrelevant to the Rule 23(b)(3)
requirements of predominance and superiority.

County of Monroe, 265 F.R.D. at 266 (emphasis supplied).

IV. THE NAMED PLAINTIFFS’ INTERESTS ARE NOT
ANTAGONISTIC TO OTHER PUTATIVE CLASS MEMBERS,

Plaintiffs only seek Defendants’ compliance with their and the putative class
members’ existing excise tax ordinances. If, for some reason, an individual class
member wishes to succumb to Defendants’ threats to blacklist it from Defendants’
websites if it forces Defendants to pay existing taxes, the class member is free to

modify its ordinance or opt out of the class.”

8 “Tf particular class members nevertheless wish to litigate their cases individually,
they may simply opt out of the class. As noted by the court in County of Monroe,
county and municipal governments are ‘better equipped to assess their rights and to

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V. SUFFICIENT COMMONALITY AND TYPICALITY EXIST FOR
CERTIFICATION.

Plaintiffs have asserted two primary bases to hold Defendants liable to
collect and remit taxes upon the full consideration paid to them for occupancy of
the rooms they sell.

A. Voluntary Insertion Claim

Under one claim — as upheld by the Georgia Supreme Court — to prevail on
liability, Plaintiffs need only show that:

(1)as a matter of fact, [Defendants] contract with hotels to collect the
customer’s hotel tax payment on behalf of the hotel; (2) [Defendants
are] not prohibited by the Enabling Statute or the City’s ordinance
from contracting to collect, on the hotels behalf, the customer’s hotel
tax payment; [and] (3) as a matter of law [the ordinances’ language]
and “lodging charges actually collected,” (O.C.G.A. $48-13-
51(a)(1)(B)(i)) include the room rate that [Defendants] charge [their]
customers and not the negotiated wholesale rate. ...

City of Columbus, at 686.’
With respect to this theory, Defendants readily acknowledge the Supreme
Court’s finding that they all operate under the Merchant Model wherein they

collect taxes from their customers for later remittance to the hotels or that their

evaluate the consequences of opting out than the lay individuals who comprise
most classes.’” City of Goodlettsville, 267 F.R.D. at 535.

2° Whether Defendants come within the definitions of “operators”, “furnishers” or
“providers” of hotel rooms is irrelevant to consideration of liability under this
theory as Defendants have “willingly inserted themselves as a matter of contract
into the local taxation scheme.” /d., at 690, 691,

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business practices do not vary from jurisdiction to jurisdiction within the State or
among class members.”? Other courts have found the Defendants’ business
practices to be uniform across the state and among class members.”

Nor do Defendants contend that any applicable ordinances prohibit them
from collecting taxes on behalf of the hotels, and the Supreme Court has already
held that the Enabling Statute does not prohibit such conduct. City of Columbus, at
688. The Supreme Court also found that “lodging charges actually collected” as set
forth in the Enabling Statute requires collection of taxes upon “the price the
[Defendants] demand from the consumer for the right to occupy the room and not
the price [Defendants] agree to pay the hotel for the room,” /d., at 689-90. Thus,

the only potential variable from the City of Columbus case is whether putative class

*° As discussed above, Defendants’ own admissions establish the uniformity of
their practice of injecting themselves into the collection of hotel excise taxes. See,
e.g., Declarations of Justin Richmond, f{9, 21-22, 27-28; Clem Bason, (419, 12,
24-26; Eric Craig, 918-19, 24; Noreen Henry, 4710-11, 17, 23; Christopher L.
Soder, 9923, 25, 27-31, 41-43, 48 (Attach. B, Exs, 1-5 respectively [Doc. 393]).
See also, Defendants’ Objections, Attach. H, I (citing OTCs’ contract provisions
regarding collection of taxes from consumers and their remittance to hotels);
Exhibits to Declaration of David W. Davenport in Support of Plaintiffs’ Motion for
Class Certification (sample contracts containing tax provisions) [Doc. 368].

3! See, City of Goodlettsville, 267 F.R.D. at 532; City of San Antonio, 2008 WL
2486043 at *10 (“As Defendants’ corporate representatives have confirmed, the
amount of tax may differ between the cities, but the manner in which the
defendants otherwise conduct their business (including the manner in which they
calculate, assess and collect tax) does not change from city to city, nor has it
changed in any material way over time.”)

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members’ ordinances contain some language that would require a different
application of the tax than under the Enabling Statute. A review of the subject
ordinances in this regard confirms that no such distinction exists.

First, the tax is always levied on the consumer “on the lodging charges
actually collected” for the lodging. O.C.G.A. §48-13-51(a)(1)(B)(i) and (ii).
Second, a review of the summary of ordinances submitted with Plaintiffs’ Motion”*
reveals only a few irrelevant variations in language as to what the tax is to be
applied, with none of the variations material for class certification purposes. As
Defendants note, the vast majority of the ordinances provide that the tax is to be
applied to the “rent.” Defendants’ Brief, at 38. Defendants also concede that “rent”
is typically defined as “the consideration received for occupancy”. /d. Plaintiffs
submit that there is no material difference between “the charge to the public” and
“the consideration received for occupancy” and at least one District Court has
agreed. In City of Goodlettsville, the tax was assessed “on the consideration
charged to the transient” and the court found that, under the ordinance, “the entire
amount charged by the defendants” was subject to the excise tax. 605 F. Supp. 2d
at 997-98. No magic language is required to apply the tax to the gross amount

charged the consumer, and minor deviations in the language of the ordinances will

* Brinson Decl. [Exhibit C, Doc. 366-12].

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not defeat typicality or commonality. City of San Antonio, 2008 WL 2486043, at
*7, 15 (construing “the total price of a sleeping room” as synonymous with “cost
of occupancy of any room” and both requiring application of tax to total amount of
consideration for room paid to Defendant), The OTCs must be renting or
furnishing rooms because they are the only ones collecting the consideration.
“Rent” is defined in Black’s Law Dictionary 1297 (6th ed. 1990) as follows:

Consideration paid for use or occupation of property. In a broader
sense, it is the compensation or fee paid, usually periodically, for the
use of any rental property, land, buildings, equipment, etc.

Most recently, the Supreme Court of South Carolina rejected Travelscape’s
[an Expedia company] terminology semantics:

Clearly Travelscape [Expedia] was engaged in the business of
furnishing accommodations in South Carolina during the audit
period, seeing as it: (1) entered into contracts with hundreds of hotels
in South Carolina in which the hotels agreed to accept a discounted
price, or net rate, for reservations made on Expedia; (2) sent
employees to South Carolina for the purpose of negotiating such
agreements; and (3) booked reservations in exchange for
consideration at hotels located in this State. Accordingly, we find the
plain language of section 12-36-920(E) imposes the sales tax on
Travelscape because it was engaged in the business of furnishing
accommodations in South Carolina.

Travelscape, LLC v, S.C. Dept. of Revenue, S.E.2d_, 2011 WL 149864 at

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*6 (S.C, 2011) (emphasis added; opinion is attached hereto as Exhibit «377 33

A quick review of Plaintiffs’ counsel’s Supplemental Declaration reveals no
material differences in the ordinances that would defeat class certification. None of
the variations suggests that the subject of the tax is upon anything less that the total
charge to the consumer for the lodging (“the charge to the public” in the Columbus
ordinance). As summarized by the San Antonio court:

In sum, Defendants’ argument about the possible effect of the

“different language” in the San Antonio ordinance is a red herring ....

Plaintiff is simply alleging that the bed tax must be paid on the

amount that the hotel occupant or customer is charged at the time of

on-line booking, regardless of how Defendants arrive at that number

or characterize their mark up, fees or charges. .... The fact that the

San Antonio ordinance is not congruent to the other municipal

ordinances does not defeat typicality.

City of San Antonio, 2008 WL 2486043 at *7.

B. Statutory Liability Claim

Plaintiffs’ alternative liability basis asserted against Defendants is that they
are liable directly under the Enabling Act and ordinances as persons charged with

the obligation to collect and remit hotel taxes to Plaintiffs. Defendants spend much

While this was not a class certification decision, it is yet another decision
that reveals that there is a national business model at work here. The
Defendants have failed to show this Court one contract under their merchant
model where they have no obligation to collect the taxes or one in which
they agree to remit taxes to the hotel on the retail charges, The reason is

telling: There are none.

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time arguing the merits as to why they believe they are not subject to the Enabling
Act and ordinances,” but just two paragraphs as to why the issue of liability under
the ordinances is inappropriate for class certification, Defendants’ Brief at 37-38.

Defendants assert that “discrepancies” among the ordinances as to “what”
they tax and “who” is to collect the tax “swamp” any commonality among the
ordinances, /d, Not so. First, Defendants’ voluntary insertion of themselves across
the State into the traditional relationship between hotels and consumers (i.e.,
transacting directly with the consumer, collecting rent and taxes from the
consumer) causes them to be obligated to collect the taxes because they are
already doing so, regardless of any terminology differences in the local
ordinances. City of Columbus. Further, any variations in the ordinances are not
material so as to defeat class certification.

Plaintiffs have already demonstrated the lack of any material differences
among the ordinances as to what they tax. As to who is obligated to collect the
taxes, a review of the ordinances reveals a similar lack of material variations in the

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terminology used, The ordinances require the “operator”, “provider”, furnisher” or,

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as Defendants’ note, ‘dealer’, to collect the tax.°° The Enabling Statute itself uses

4 Defendants’ Brief, at 6-11, 30-32, 38-39,
°° Defendants’ Brief, at 37. “Dealer is defined in the Georgia Code to include
anyone who “leases or rents tangible personal property for a consideration

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alternative terms to describe who is to collect the tax ~ person “operating a hotel’”*’
“providing the room,*® “furnished by any person.”*’ Once again, there is no magic
word necessary, What is material and most important is that the Enabling Statute
unquestionably makes it the obligation of the person collecting the taxes to remit

them, and, in this case, that is the Defendants.*° As held by the District Court in

City of San Antonio, 2008 WL 2486043, at *11: “While the language of these

municipalities is not identical in every respect, they are strikingly similar and the

differences, if any, appear to be mere semantics.””!

permitting the use or possession of the property without transferring title to the
property” and anyone who “sells at retail or offers for sale at retail, ...or for use ..
in this state any tangible personal property.” O.C.G.A. §48-8-2(3)(D) and (G).

°° See, Brinson Supp. Decl.

97.O.0.G.A. §48-13-5 L(a)(1\(B)Q).

8 O.C.G.A. §48-13-51(a)(1)(B)(ii).

» O.C.G.A. §48-13-51(b)(2) .

”° Defendants’ effort to explain away the conforming effect of the Enabling Statute
upon variations in local ordinances is without merit. Defendants’ Brief, at 29-30.
There is nothing to suggest that the 1998 amendment to the Enabling Statute was a
reaction to a 1982 court decision or that the conforming language is not as
universal as stated on its face.

*! Defendants’ sole remaining commonality argument relates to their dormant
Commerce Clause defense. Defendants’ Brief, at 32. In this case, determination of
the defense does not defeat commonality. County of Monroe, 265 F.R.D. at 671.
(“[I]t is undisputed that Defendants’ conduct is the same as to all class members.
Therefore, Defendants’ Commerce Clause defense will either pertain to every class
member, or to none of them’), The defense has also been rejected on the merits.
City of Goodlettsville, 267 F.R.D. at 534.

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VI. CERTIFICATION UNDER RULE 23(B)(@) IS PROPER.

Defendants ignore the criteria utilized in this Circuit to determine whether
monetary reliefis “incidental to the requested injunctive or declaratory relief’ so as
to authorize class certification for both types of relief. In Murray v. Auslander, 244
F.3d 807 (11" Cir. 2001), the court adopted the rule of the Fifth Circuit:

“By incidental, we mean damages that flow directly from liability to

the class as a whole on the claims forming the basis of the injunctive

or declaratory relief. .. .Ideally, incidental damages should be those to

which class members automatically would be entitled once Liability to

the class (or subclass) as a whole is established.”

Id. at 812.

Here, unlike in Murray, which involved individual pain and suffering
damages for each class member, the Plaintiffs will all be entitled to the same
formulaic damages. See, City of San Antonio, at *12 (“it is clear that alleged
damages are subject to common proof and can be calculated on a formulaic
basis”). Thus, certification under Rule 23(b)(2) and (3) is proper. Jn re Piedmont

Office Trust, Inc. Sec. Litig., 264 F.R.D. 693 (N.D. Ga. 2010).

VIL. CALCULATION OF DAMAGES DOES NOT PRECLUDE
PREDOMINACE UNDER RULE 23(B)(3).

Defendants assert that damage calculations in this case will require

? But see, City of Gallup, (rejecting Rule 23(b)(2) certification under different
Tenth Circuit standard).

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individualized determinations precluding predominance under Rule 23(b)(3).
Defendants’ Brief, at 40-41. However, courts have examined this issue and
rejected such an argument. See, City of Goodlettsville, 267 F.R.D. at 533. As noted
above, the San Antonio court found at the class certification stage that the
plaintiffs’ damages could be calculated on a formulaic basis. Under such
circumstances, “the fact that damages must be calculated on an individual basis is
no impediment to class certification.” Klay v. Humana, Inc., 382 F.3d 1241, 1259
(11" Cir. 2004). In fact, the San Antonio court conducted a jury trial after entry of
the above opinion and the jury awarded in excess of $20,000,000 in class-wide
damages based on formulas referenced in the opinion.”

The City of Goodlettsville court was particularly skeptical of Defendants’
similar argument asserted there:

But the force of this argument is significantly undercut by the fact that

defendants already remit occupancy taxes to hotels based on

wholesale rates. Obviously, the defendants are able to determine

which types of transactions are covered by which taxes. See, City of

San Antonio |cit. omit.] (‘[T]here is nothing in the record to suggest

that Defendants, who have been calculating taxes and fees for years,

are confused about specific charges to the hotel occupant and whether

a tax is assessed thereon.”),

In this case, in preparation for the mediation among the parties, Defendants

* See, City of San Antonio Verdict Form, attached hereto as Exhibit “4”,

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produced transactional data from which Plaintiffs developed formulaic damages
calculation programs for each Defendant’s data and calculated actual class wide
damages, which results were provided to Defendants.’ To calculate individual
class member’s damages, all that needs be done is to apply the formulas already
developed to the transactional data for hotels in each class member’s jurisdiction.

In any event, any damages issues presented do not affect predominance
under Rule 23(b)(3) because they do not relate to liability issues. As held in County
of Monroe, 265 F.R.D, at 670:

All of these issues, however, relate to calculating damages, rather

than liability. They therefore do not bar a finding of predominance

here. See, Allapattah Servs., Inc.v. Exxon Corp., 333 F.3d 1248,

1261 (11" Cir. 2003) (“[N]umerous courts have recognized that the

presence of individualized damages issues does not prevent a

finding that the common issues in the case predominate”).
VIII. OTHER CLAIMS ARE PROPER FOR CLASS RESOLUTION.

Defendants attack Plaintiffs’ conversion, unjust enrichment, and Uniform
Deceptive Trade Practices Act (“UDTPA”) claims as “plainly meritless” and
misstate the ruling in Velez v. Novartis Pharms. Corp., 244 F.R.D. 263 (S.D.N.Y.

2007), which Defendants urge requires an examination of the merits of such claims

(Defendants’ Brief at 44, n. 17). This is not the law in Velez, nor in this Cireuit. A

“ Plaintiffs will be happy to file their calculations and formulas for the Court’s
review if Defendants agree to waive possible settlement discussion privileges.

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trial court “should not determine the merits of a claim at the class certification
stage” (but it may consider such “to the degree necessary to determine whether the
requirements of rule 23 will be satisfied”). Heffner v. Blue Cross & Blue Shield of
Ala., Inc., 443 F.3d 1330, 1337 (11" Cir. 2006).

Class certification is appropriate for conversion, unjust enrichment and/or
UDTPA claims such as are asserted by Plaintiffs herein. As held by the District
Court in City of Goodlettsville, 267 F.R.D. at 535-536:

e “the kind of individualized inquiry that is usually necessary for resolution of
an unjust enrichment claim” does not apply to Defendants’ conduct;

e “if the defendants have failed to remit taxes for which they are liable, even
in good faith, the class members will be able to show conversion”; and

e “lb]ecause the unjust enrichment and conversion claims are essentially
dependent on the class members’ tax claims, they will rely on the same
common evidence as the tax claims. Therefore, they are amenable to class-

wide adjudication.””°

* See also, Castano v. Amer. Tobacco Co., 84 F.3d 734, 744 (5" Cir. 1996)
(recognizing “the unremarkable proposition that the strength of a plaintiff's claim
should not affect the class certification decision”).

“« Accord, County of Monroe, 265 F.R.D. at 668, 670 (conversion and unjust
enrichment claims appropriate for class certification as they will be premised on
same class-wide proof as tax claims; concern for individualized inquiries does not

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Finally, to the extent the merits of the claims are relevant at this stage,
Defendants ignore the prior review of these claims by this very Court. See 2007
Order, 2007 WL 6887932 at *22 (refusing to dismiss such claims).

IX. CONCLUSION.

Defendants would have this case disintegrate into more than 250 separate
actions spread throughout the State in which every single city, town, and county in
Georgia having a hotel excise tax ordinance needs to individually audit these out-
of-state companies and individually proceed to litigate against the OTCs and their
national law firms over the same issue, under the same business model, and
controlled by the same Supreme Court of Georgia caselaw.

The unspoken goal of Defendants’ Response is to divide and conquer.
Defendants know that if a small town in Georgia is owed $50,000, it will spend
more than $50,000 in costs and fees to battle these companies and recover that
money. But, class certification was designed to address the very predicament that
small governments would face if forced to litigate individually. Class certification
allows for class members with small, but important, claims to still obtain judicial

review and relief and thereby promotes judicial economy.

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apply, including without limitation, because “Defendants’ business operations are
the same as to all members of the putative class”).

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This is to certify that the foregoing document was prepared using Times New

Roman 14 point font in accordance with LR 5.1(C).

Respectfully submitted this 11th day of February, 2011.

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CERTIFICATE OF SERVICE

This is to certify that [ have this day served a copy of the foregoing

with the Clerk of Court using PLAINTIFFS’ REPLY TO DEFENDANTS’

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